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                        EXHIBIT 2
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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION


  JAMES BUECHLER and JESSE                   Case No. 8:22-cv-02237
  MARTINEZ, on behalf of themselves
  and all others similarly situated,

        Plaintiffs,

  v.                                         PLAINTIFFS’ FIRST SET OF
                                             INTERROGATORIES TO
  RUMBLE INC.,                               DEFENDANT RUMBLE, INC.

        Defendant.


       Pursuant to Federal Rules of Civil Procedure 26 and 33, Plaintiffs James

 Buechler and Jesse Martinez (“Plaintiffs”) hereby propound their First Set of

 Interrogatories upon Defendant Rumble, Inc. (“Defendant” or “Rumble”), and

 requests that Defendant respond within the time period set forth in the Federal

 Rules of Civil Procedure and any other applicable rules and orders.

                                  DEFINITIONS

       1.     “All” should be construed to include the collective as well as the

 singular and shall mean “each,” “any,” and “every.”

       2.     “And” and “or” are terms of inclusion and not of exclusion and are to

 be construed to bring within the scope of these requests any documents or

 responses that might otherwise be considered outside their scope.

       3.     “Any” should be construed to mean “any and all.”

       4.     “Rumble,” “You,” and “Your” mean Defendant Rumble, Inc. and its

 predecessors and successors in interest; its present and former officers, directors,
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 and employees; its parents, subsidiaries, divisions, entities, and affiliated

 companies; and its attorneys, representatives, agents and all other persons acting

 or authorized to act on their behalf, including third-party entities.

       5.     “Complaint” means the complaint filed on September 29, 2022, in

 Buechler et al v. Rumble, Inc., No. 8:22-cv-02237, as may be superseded by any

 subsequent consolidated complaints.

       6.     “Communication” means oral or written communications of any kind

 that transmit information, including electronic communications such as emails,

 online messages, mobile messages, machine-generated messages, and facsimiles

 (including, for example, any exchanged over platforms such as Microsoft Outlook,

 Microsoft Teams, Apple Mail, Gmail, and Slack); telephone communications; and

 letters, memoranda, exchanges of written or recorded information, in-person and

 virtual (e.g., Zoom) meetings, and events that more than one person attends. The

 phrase “communication between” also means instances where one party

 disseminates information that the other party receives but does not respond to.

       7.     “Concerning” means, without limitation, the following concepts:

 regarding, in connection with, referring to, relating to, discussing, describing,

 reflecting, dealing with, pertaining to, analyzing, evaluating, evidencing,

 estimating, containing, constituting, studying, surveying, projecting, assessing,

 recording, summarizing, criticizing, reporting, commenting, or otherwise

 involving, in whole or in part.

       8.     “Describe,” when referring to a document, means to state the

 following:   (a) the nature (e.g., data, computer code, e-mail, letter, handwritten

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 note, PowerPoint) of the document; (b) the title or heading that appears on the

 document; (c) the date of the document and the date of each addendum,

 supplement, or any other addition or change; (d) the identity of the document’s

 author or creator, custodian(s), and any addressees or recipients of the document;

 (e) the present location of the document, and the name, address, position or title,

 and telephone number of the person or persons having custody of the document;

 and (f) the Bates or other control number(s), if any, assigned to the document.

       9.    “Document” shall have the same meaning as used in Rule 34 of the

 Federal Rules of Civil Procedure, and shall be construed in its broadest sense to

 include, without limitation, the final form and all drafts and revisions of any

 paper, electronic, or other substance or thing, original or reproduced, and all

 copies thereof that are different in any way from the original, on which any words,

 letters, numbers, symbols, pictures, graphics, or any other form of information is

 written, typed, printed, inscribed, or otherwise visibly shown, and also every other

 form of stored or recorded information, whether on film, tape, disks, cards,

 computer memories, internet hosting site, or any other medium or device whereby

 stored information can, by any means whatsoever, be printed or otherwise

 recovered, generated or displayed in the form of visible, audible, or otherwise

 perceptible words, letters, numbers, symbols, pictures, or graphics. Each and

 every draft of a document is a separate document for purposes of these requests.

       10.   “Facebook” refers to the company previously known as Facebook,

 Inc. and now known as Meta Platforms, Inc.



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        11.    “Facebook ID” means the unique combination of numbers associated

 with a user’s Facebook profile.

        12.    “Identify,” when referring to an individual, means to state the

 following: (a) the individual’s full name; (b) the time period for which You

 employed the individual; (c) the individual’s positions(s) and job title(s); and (d)

 the individual’s duties and responsibilities for each position or title.

        13.    “Personally Identifiable Information” means “information which

 identifies a person as having requested or obtained specific video materials or

 services from a video tape provider,” 18 U.S.C. § 2710(a)(3), including one’s

 Facebook ID, name, address, email address, birthdate, or Social Security number,

 and the title, URL, descriptor or similar information that specifies that video

 content.

        14.    “Pixel” or “Facebook Pixel” means a snippet of programming code

 that, once installed on a webpage, sends information to Facebook.

        15.    “Subscriber” means any person who has paid money or otherwise

 given consideration to or established an ongoing relationship with Defendant in

 its capacity as a “video tape service provider” under any subscription plan or

 offering in exchange for access to content available on its websites. See 18 U.S.C. §

 2710(a)(1), (4).

        16.    “Video Privacy Protection Act” means 18 U.S.C. § 2710.

        17.    “Websites” means rumble.com and any associated webpages.




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                                     INSTRUCTIONS

        1.    Unless otherwise specified, for Defendant’s rumble.com website, the

 relevant time period for purposes of all applicable interrogatories is September 29,

 2020 through the date of Your responses, and includes all information relating to

 events or transactions within this period, even if prepared, received, or reviewed

 outside of this period.

        2.    The Interrogatory responses requested below include not only those

 personally known or available to You but also those known or available to all of

 Your    attorneys,   agents,   servants,       employees,   representatives,   private

 investigators, and others who are in possession of or who may have obtained

 information for on behalf of You.

        3.    Each Interrogatory must be answered in full. If this cannot be done

 after conducting a reasonable investigation, please answer to the fullest extent

 possible, explaining why a complete answer is not possible, stating any

 knowledge, information, or belief concerning the unanswered portion of the

 interrogatory, what information or documents cannot be provided, why the

 information or documents are not available, and what efforts were made to obtain

 the unavailable information or documents.

        4.    If any information called for by any Interrogatory is withheld under

 a claim of privilege or work product, Defendant must produce a privilege log as

 quickly as possible, but no later than fourteen days after its disclosures or

 discovery responses are due, unless the parties stipulate to, or the Court sets,



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 another date. Privilege logs must contain the information set forth in Federal Rule

 of Civil Procedure 26(b)(5) and any other applicable rules or orders.

       5.     If You object to any part of an Interrogatory, You must set forth Your

 basis for the objection with particularity, including the reasons for the objection

 and the categories of information to which the objection applies, and answer all

 other parts in full.

       6.     If in the course of responding to these Interrogatories, You encounter

 any ambiguity in the Interrogatories, in a definition, or in an instruction, explain

 with particularity what You find to be ambiguous, and explain what reasonable

 construction You used in providing Your response.

       7.     If You object to any Interrogatory on the grounds that responding

 would be unduly burdensome, you must describe the burden with the amount of

 specificity that the governing caselaw requires so that Plaintiffs (and the Court if

 necessary) appropriately can assess the merits of any such objection.

       8.     You have an ongoing obligation to supplement your responses to

 these interrogatories.

                               INTERROGATORIES

 INTERROGATORY NO. 1: State the time period(s) for which You have used the

 Facebook Pixel, and its underlying events and parameters, on the Websites.

 INTERROGATORY NO. 2: Describe each category of information, including

 each type of Personally Identifiable Information, concerning Your subscribers that

 the Facebook Pixel, and its underlying events and parameters, on the Websites has



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 collected and sent or caused to be sent to Meta when any of Your subscribers has

 requested or obtained video content on the Websites.

 INTERROGATORY NO. 3: Describe in what, if any, ways You have changed the

 functionality of the Facebook Pixel installed on the Websites, including adding,

 removing or modifying categories of information, including underlying events

 and parameters, it collects and sends or causes to be sent to Meta, along with the

 dates You made any changes.

 INTERROGATORY NO. 4: Describe what, if any, data, databases or repositories,

 or other Documents are in Your possession, custody or control that contain, list or

 show the transmissions, and each underlying category of information, the

 Facebook Pixel, and its underlying events and parameters, installed on the

 Websites has collected and sent or caused to be sent to Meta when Your

 subscribers have requested or obtained video content on the Websites.

 INTERROGATORY NO. 5: State all purposes for which You installed the

 Facebook Pixel, and its underlying events and parameters, on the Websites,

 including how and why You have used them.

 INTERROGATORY NO. 6: State the number of subscribers You have had for

 each Website, including the number who have requested or obtained at least one

 video on each Website.

 INTERROGATORY NO. 7:             Identify each individual involved in or with

 responsibility for the development, programming, installation or maintenance of

 any computer program or code on the Websites, including the Pixel, obtained from



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 or through any company offering digital advertising, such as targeted or custom

 advertising, including Facebook.

 INTERROGATORY NO. 8:            Identify each individual with knowledge of or

 responsibility for the Websites’ collection and sharing with Facebook through the

 Pixel installed on the Websites Your subscribers’ Personally Identifiable

 Information.

 INTERROGATORY NO. 9: Identify each individual with knowledge of all the

 purported notices You have provided on the Websites informing Your subscribers

 that You disclose their Personally Identifiable Information to Facebook, of any

 consent You purportedly received from each of Your subscribers to do so, and of

 Your knowledge of and compliance with the Video Privacy Protection Act and

 other applicable federal and state privacy laws.

 INTERROGATORY NO. 10: Identify each individual answering, assisting, or

 participating in preparing the responses to the operative Complaint, these

 Interrogatories, and Plaintiff’s First Set of Requests for Production of Documents.

 Dated: December 30, 2022
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